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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )      1:17-cr-00073-JAW-7
                                              )
DIANA DAVIS,                                  )
                                              )
                                              )
                       Defendant              )


                          RECOMMENDED DECISION ON
                        DEFENDANT’S MOTION TO SUPPRESS

        This matter is before the Court on Defendant’s Motion to Suppress. (Motion, ECF

No. 280.) Through the motion, Defendant seeks to exclude as evidence at trial her statements

made to law enforcement following an incident in a parking lot in Augusta, Maine, on June

26, 2016. Defendant asks the Court to exclude the statements she made at the scene of the

incident and at the Augusta Police Department. As the Government explained in its response

to the motion and as the Government confirmed during the parties’ conference with the Court

on October 30, 2017, the Government does not object to the motion.1 (Response, ECF No.

336.)

        Given the lack of objection to the motion, I recommend the Court grant the motion to

suppress, and exclude as evidence at trial the statements Defendant made to law enforcement

on June 26, 2016.


1
 The Government reserved the “right to make use of [Defendant’s] statements on cross-examination as
permitted by Harris v. New York, 401 U.S. 222, 225-26 (1971), United States v. Havens, 446 U.S. 620,
627-28 (1980), and their progeny.” (Response, ECF No. 336)
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                                         NOTICE

              A party may file objections to those specified portions of a magistrate
      judge's report or proposed findings or recommended decisions entered pursuant
      to 28 U.S.C. 636(b)(1)(B) for which de novo review by the district court is
      sought, together with a supporting memorandum, and request for oral argument
      before the district judge, if any is sought, within fourteen (14) days of being
      served with a copy thereof. A responsive memorandum and any request for
      oral argument before the district judge shall be filed within fourteen (14) days
      after the filing of the objection.

            Failure to file a timely objection shall constitute a waiver of the right to
      de novo review by the district court and to appeal the district court's order.

                                           /s/ John C. Nivison
                                           U.S. Magistrate Judge

      Dated this 3rd day of November, 2017.
